Case 2:04-cr-20196-.]PI\/| Document 56 Filed 06/02/05 Page 1 of 2 Page|D 86

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION OS`H»a_Z PM 2:3h

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UNITED STATES OF AMERICA

Plaintiff,

VS. CR. NO. 04~20196-Ml

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REGINALD ALEXANDER

`-’~_!

Defendant. )

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on June 1, 2005, the United States
Attorney for this district, Stephen Parker, appearing for the Government and
the defendant, Reginald Alexander, appearing in person and with counsel,
Eugene Laurenzi, who represented the defendant.

With leave Of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l Of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, AUGUST 30, 2005, at 8:45
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the l day of June, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

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UNITED sTATE DRISTIC COURT - WESTER D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20196 Was distributed by faX, mail, or direct printing on
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Eugene A. Laurenzi

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Honorable J on McCalla
US DISTRICT COURT

